              Case 1:04-cr-05356-AWI Document 346 Filed 11/03/06 Page 1 of 3
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 2
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 6
     Attorney for Defendants,
 7   SURRINDER SINGH NIJJAR and
     AMRITPAL P. SINGH
 8

 9
                          IN THE UNITED STATES DISTRICT COURT
10
                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
11
                                         * * * * *
12

13                                             ) Case No.: CR-F-04-5356 AWI
     UNITED STATES OF AMERICA,                 )
14                                             ) STIPULATION FOR EXONERATION OF
                  Plaintiff,                   ) PROPERTY BOND TO BE REPLACED WITH
15                                             ) UNSECURED BOND AND RECONVEYANCE
          vs.                                  ) OF REAL PROPERTY
16   SURRINDER SINGH NIJJAR and                )
     AMRITPAL P. SINGH,                        )
17                                             ) ORDER
                  Defendants.
18                                             )
19

20
          IT IS HEREBY STIPULATED between the Defendants, SURRINDER SINGH
21
     NIJJAR    and   AMRITPAL   P.   SINGH,    by     and   through     their    attorney   of
22
     record, Anthony P. Capozzi, and Plaintiff, by and through Assistant
23
     United    States    Attorney,    Marlon       Cobar,   that   an    Order    be   issued
24
     exonerating the property bond and the real property in interest be
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     reconveyed in this matter.
26
          An unsecured bond in the amount of $1,000,000.00 will be placed
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     with the Clerk upon Order of the Court to reconvey the property.
28
          On January 21, 2005 an original Deed of Trust was posted on
     behalf of the Defendant, SURINDER SINGH NIJJAR, by Nijjar Brothers


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              Case 1:04-cr-05356-AWI Document 346 Filed 11/03/06 Page 2 of 3
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 2
     Farms (Deed of Trust Receipt No. 2005003128; property address 23671
 3
     Avenue 19 1/2, Madera, California, 93638).              The Straight Note and
 4
     Deed of Trust were posted in the amount of $1,000,000.00.
 5
           On January 21, 2005 an original Deed of Trust was also posted
 6
     on behalf of the Defendant, AMRITPAL P. SINGH, by Nijjar Brothers
 7
     Farms (Deed of Trust Receipt No. 2005003130; property address 23671
 8
     Avenue 19 1/2, Madera, California, 93638).              The Straight Note and
 9
     Deed of Trust were posted in the amount of $1,000,000.00.
10
           It is respectfully requested that the property bonds in this
11
     matter be exonerated and that the property posted as collateral for
12
     the   bonds    be   reconveyed   to   Nijjar   Brothers   Farms,    and   that   an
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     unsecured bond in the amount of $1,000,000.00 be posted for the
14
     Defendants, SURRINDER SINGH NIJJAR and AMRITPAL P. SINGH.
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                                               Respectfully submitted,
16
     Dated:     November 1, 2006
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                                                    /s/ Anthony P. Capozzi
18
                                               Anthony P. Capozzi,
                                               Attorney for Defendants,
19                                             SURRINDER SINGH NIJJAR and
                                               AMRITPAL P. SINGH
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21   Dated:     November 1, 2006
                                                    /s/ Marlon Cobar
22                                             Marlon Cobar,
                                               Assistant United States Attorney
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               Case 1:04-cr-05356-AWI Document 346 Filed 11/03/06 Page 3 of 3
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 3
                                                  ORDER
 4
              IT    IS    HEREBY   ORDERED   that    the   property      bond   in   the   above-
 5   captioned matter be exonerated and title to the real property be
 6   reconveyed to Nijjar Brothers Farms.
 7            IT     IS   FURTHER     ORDERED     that    the   Defendants      will   post   an
 8   unsecured bond with the Court in the amount of $1,000,000.00.
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     IT IS SO ORDERED.
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     Dated:        November 3, 2006                   /s/ Anthony W. Ishii
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     0m8i78                                     UNITED STATES DISTRICT JUDGE
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